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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

 ASHTON ORR, ZAYA PERYSIAN,
 SAWYER SOE, CHASTAIN ANDERSON,
 DREW HALL, BELLA BOE, and REID
 SOLOMON-LANE, on behalf of themselves
 and others similarly situated,
                                Plaintiffs,
     v.                                              Case No. 1:25-cv-10313

 DONALD J. TRUMP, in his official capacity
 as President of the United States; U.S.
 DEPARTMENT OF STATE; MARCO
 RUBIO, in his official capacity as Secretary
 of State; and UNITED STATES OF
 AMERICA,
                                Defendants.


                                  NOTICE OF APPEARANCE

          Please enter the appearance of Sean M. Bender, of Covington & Burling LLP, as counsel

for Plaintiffs in the above-captioned matter.



Dated: February 14, 2025                         Respectfully submitted,


                                                 By: /s/ Sean M. Bender
                                                     Sean M. Bender
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on February 14, 2025, a true copy of the above document was filed

via the Court’s CM/ECF system and that a copy will be sent automatically to all counsel of

record.


February 14, 2025                              /s/ Sean M. Bender
                                               Sean M. Bender




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